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12                       IN THE UNITED STATES DISTRICT COURT
13
                                   DISTRICT OF ARIZONA
14
     Ronald H. Pratte,                               Case No.: 2:19-cv-00239-PHX-GMS
15

16
                  Plaintiff,
                                                        DEFENDANTS’ MOTION FOR
17   vs.
                                                          SUMMARY JUDGMENT
18
     Jeffrey Bardwell and Fanny F. Bardwell,
19   husband and wife,
                                                           (Oral Argument Requested)
20                Defendants.
21
                                       INTRODUCTION
22

23
           Defendants Jeffrey and Fanny Bardwell (“Bardwell”) are defending against breach

24   of contract, promissory estoppel and unjust enrichment claims brought by Bardwell’s
25
     virtual father-figure, friend, mentor, benefactor, and previous employer, Plaintiff Ronald
26
     Pratte (“Pratte”). Pratte seeks damages totaling over $10,000,000, including a pro-rata
27

28   portion of the amount of gift tax Pratte paid. Bardwell requests summary judgment in his



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1    favor that under no theory of the case may Pratte rightfully recover from Bardwell, as
2
     damages, any portion of the gift tax paid to the IRS. Disposing of this aspect of Pratte’s
3
     damages claim will narrow issues, will reduce the complexity of matters, and will reduce
4

5    the amount of expert testimony required. Bardwell also requests summary judgment in his
6
     favor on Pratte’s remaining claims.
7
                                                 PREAMBLE
8

9           Pratte, now in his mid-70s, is an ultra-high net worth individual, i.e., a man worth
10
     hundreds of millions of dollars. Pratte claims that in exchange for money and property
11
     interests transferred to Bardwell, directly and indirectly, Bardwell agreed to work for him
12

13   until Pratte died. It is this alleged promise that serves as the foundation for Pratte’s three

14   claims. Bardwell denies making any such promise or the existence of any contract.
15
            Pratte, who acknowledges he suffers from memory problems, has provided
16

17
     testimony that is both inconsistent and insufficient to establish a contractual relationship.

18   Further, there is no written agreement, term sheet, email, or other collateral documentation
19
     (W2s, 1099’s, worker’s compensation insurance, etc.) that supports Pratte’s claim that
20
     Bardwell was “employed” by Pratte. There is, however, Pratte’s 2006 Form 709 Federal
21

22   Estate and Gift Tax return, which Pratte admits he signed under penalty of perjury and filed
23
     18-months after all interests were transferred. The return characterizes the transfers to
24
     Bardwell as gifts.1 Importantly, the gift made to Bardwell was not unique and Pratte made
25

26

27   1
      Pratte’s gift tax return is not submitted as an exhibit at this time as there is no dispute as
28   to what information is contained in the return, or what is omitted from the return, i.e.,
     there is no reference to any consideration from Bardwell, or a contract with Bardwell.


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1    simultaneous and identical gifts to five men, including Bardwell. It is Pratte’s burden to
2
     prove the existence of a contract/promise. Although the existence of any contract/promise
3
     is a disputed issue of material fact, summary judgment in favor of Bardwell is nonetheless
4

5    appropriate as Pratte’s own testimony demonstrates he cannot sustain his burden of proving
6
     each necessary element.
7
                                    FACTUAL BACKGROUND
8

9           Pratte/Bardwell and Their Relationship:
10
            Pratte amassed his fortune largely through his life-long development of his
11
     construction business supplying lumber and trusses to home builders which he sold to Pulte
12

13   Homes (“Pulte”) in 2005. (Defendants’ Statement of Facts (“DSOF”), ¶ 1) At its peak,

14   Pratte’s business employed approximately five-thousand people in Arizona and Nevada.
15
     (DSOF, ¶ 2) In 2001 Bardwell was hired to manage and further develop the Phoenix
16

17
     lumberyard. (DSOF, ¶ 3) Bardwell worked hard and excelled at his job, drawing Pratte’s

18   attention, and garnering Pratte’s respect. Pratte stated, “[h]is work ethic was excellent. He
19
     was very respectful, okay. That’s big with me. Didn’t lie to me, okay. If he made a mistake
20
     – hey, I screwed up. It was all that; all of that’s huge.” (DSOF, ¶ 4) Pratte further described
21

22   Bardwell as “very honest,” a hard worker, and someone who always did what he said he
23
     would do. (DSOF, ¶ 5) Over the next four-years, Bardwell and Pratte became close friends.
24
     Pratte stated he was close to Bardwell and that he introduced or referred to Bardwell as his
25

26   “adopted son.” (DSOF, ¶ 6) Until recently, Pratte considered Bardwell a part of his family.

27   Id..
28




                                                    3
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1           Pratte Sells His Business to Pulte and Decides to Make Gifts:
2
            In 2005 Pratte finalized the sale of his business to Pulte. (DSOF, ¶ 7) With the sale
3
     of his business, Pratte’s long time CFO/CPA, William Shisler (“Shisler”), advised Pratte
4

5    that under the then applicable estate tax regime it may be in Pratte’s best interest to consider
6
     reducing his taxable estate by gifting monies or properties. (DSOF, ¶ 8) Several months
7
     later Pratte told Shisler he decided to make substantial gifts to various persons. (DSOF, ¶
8

9    9) Pertinent to this case, Pratte advised Shisler he was making identical gifts to his two
10
     natural sons (Trevor and Justin Pratte), his son-in-law (Jaime Ziparo), a man married to
11
     Pratte’s niece (Todd Carrier) and Bardwell (collectively referred to as the “Five-Guys”).
12

13   (DSOF, ¶ 10)

14          The December 2005 Airport Meeting:
15
            In late December 2005, after selling to Pulte and deciding he would gift monies and
16

17
     properties, Pratte instructed Shisler to obtain five cashier’s checks each in the amount of

18   $2 Million. (DSOF, ¶ 11) Pratte intended to surprise the Five-Guys with the checks at a
19
     meeting he arranged at the North Las Vegas airport. (DSOF, ¶ 12)2 The Five-Guys did not
20
     know why Pratte had called the meeting, but all attended as instructed. The meeting was
21

22   brief lasting under one hour. (DSOF, ¶ 13) At the meeting Pratte handed each man an
23
     envelope containing a $2M check. (DSOF, ¶ 14) The Five-Guys were surprised when they
24
     received the checks. (DSOF, ¶ 15) Pratte also told the Five-Guys he would transfer real
25

26

27   2
      Pratte arranged the meeting at the airport because Trevor Pratte, Jaime Ziparo, and Todd
28   Carrier worked in Nevada. Pratte, Bardwell, and Justin Pratte flew from Phoenix to the
     meeting in Pratte’s plane.


                                                    4
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1    properties to them as a group. (DSOF, ¶ 16) Pratte expressed his “hope” or “plan” that the
2
     Five-Guys would use a portion of the proceeds to jointly form, fund, and operate a home
3
     building company. (DSOF, ¶ 17) Pratte testified, “I wanted a family business” and that it
4

5    was his “dream” the Five-Guys would become a premier home builder. (DSOF, ¶ 18)
6
     Pratte told the Five-Guys he was going to pay all gift taxes associated with the transfers.
7
     (DSOF, ¶ 19), Ex. 1, 256:2-21.
8

9           Pratte’s Testimony Reveals that No Contract Was Formed:
10
            Pratte acknowledges that, at 73-years of age, he suffers from memory deficits.
11
     (DSOF, ¶ 20) He also acknowledges he has trouble remembering events because they
12

13   occurred more than 15 years ago. (DSOF, ¶ 21) For example, Pratte cannot accurately

14   recall when and where Bardwell allegedly promised to work for him in exchange for the
15
     monies and properties received. At varying times Pratte claimed Bardwell’s promise had
16

17
     to have been made before the December 2005 airport meeting. At other times Pratte

18   testified the airport meeting was the first meeting. (DSOF, ¶ 22) In any event, Pratte
19
     testified that prior to the airport meeting, Bardwell must have made a promise to him,
20
     although he could not recall the meeting or what Bardwell may have said. (DSOF, ¶ 23)
21

22          When pressed further as to when Bardwell made the alleged promise and what
23
     Pratte actually said to Bardwell, Pratte testified as follows:
24
             A:      I think [Bardwell] would have said it to me personally prior to [the airport
25                   meeting], or I would not have invited him to go on the trip.
26
             Q:      And well, didn’t you testify earlier – if he did that, then he would have
27                   known that you were giving everybody a $2 million check, right?
28
             A:      No, no.


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1            Q:      Well, then why would he work for you for life if he didn’t even know
2
                     what you were going to give him?

3            A:      ‘Cause I told him he would be taken care of.
4
             Q:      That’s it? You said: You’ll be taken care of?
5
             A:     That’s what I recall having said.
6
            . . . .
7            A:     I didn’t say: Look, Bardwell. I’m going to give you 10 million bucks.
                    You need to come to work for me for the rest of your life.
8

9            Q:      You just said: I’m going to take care of you. Come work for me for the
                     rest of my life?
10

11           A:      Right.

12           Q:      Is that what you’re saying happened?
13
             A:      Pretty much, pretty much.
14

15
     (DSOF, ¶ 24)

16          Seeking further clarification counsel returned to the issue later in the deposition:
17
                    Q:    Is it possible that what Jeff said is: For this kind of gratuity – this
18                        kind of money, I’m going to work for this man for the rest of my
                          life? Is it possible that’s what you heard?
19

20                  A:    I don’t know what his exact verbiage was.
21
                    Q:    You mean at the airport on 2005?
22
                    A:    I don’t remember the words he used.
23
     (DSOF, ¶ 25)
24
            Pratte’s Second Deposition:
25

26          Pratte’s second deposition focused upon what Pratte told Shisler about the gifts.

27   Pratte’s testimony reveals he has no clear memory of events and that his recollections are
28
     inconsistent at best, or potentially innocent or intentional fabrications.



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1           Initially Pratte claimed he did not recall what he told Shishler. (DSOF, ¶ 26) (“I
2
     don’t remember what I told him. That was 15 years ago.”). Later Pratte claimed he
3
     told Shisler Bardwell was going to work for him for life and that was the reason Bardwell
4

5    was included in the transactions. (DSOF, ¶ 27) Subsequently Pratte backtracked or
6
     qualified his recollections:
7
                   Q: And it’s your testimony that you told him Bardwell was different?
8

9                  A: I think I told him that Bardwell had agreed to work for me for the
                   rest of my life.
10

11                 Q: Are you sure?

12                 A: I’m as sure as I can be after 15 years.
13
                   Q: Well, this answer [to interrogatories] was done nine months ago.
14

15
                   A: Okay. But it still happened 15 years ago.

16                 Q: So you might not remember accurately; is that fair?
17
                 A: That’s very fair.
18   (DSOF, ¶ 28.) Of course, he later stated he was “absolutely positive” he had told Shisler
19
     Bardwell was in a different position from the other four men. (DSOF, ¶ 29)
20
            Pratte’s explanations related to Bardwell’s involvement in the companies and
21

22   assisting him also are inconsistent. On the one hand Pratte claims Bardwell was not to
23
     work in the companies and was to work only for him, but he also explained why he
24
     transferred the assets to all Five-Guys stating, “all five had their separate talents that
25

26   gelled well together in my mind.” (DSOF, ¶ 30) Pratte confirmed two other facts. He

27   confirmed his decision to pay the gift tax was not a subject of negotiation with any of the
28




                                                    7
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1    Five-Guys, nor was it part of any “bargain.” (DSOF, ¶ 31) Second, Pratte testified he
2
     trusted Shisler implicitly and that Shisler was “very knowledgeable.” (DSOF, ¶ 32)
3
            CFO/CPA Shisler’s Testimony:
4

5           Unlike Pratte, Shisler has a clear recollection of these transactions and
6
     contradicted Pratte’s testimony. Shisler testified the monies and the properties transferred
7
     to the Five-Guys, including Bardwell, were represented by Pratte as gifts, and intended
8

9    by Pratte to be gifts. (DSOF, ¶ 33) Pratte never told Shisler Bardwell was different from
10
     the other gift recipients. (DSOF, ¶ 34) Pratte never told Shisler that Bardwell made any
11
     kind of agreement to work for Pratte in exchange for the assets transferred, and that
12

13   Pratte’s expressed intention was that the transfers were gifts. (DSOF, ¶ 35)

14          Shisler’s testimony is unambiguous. In fact, Shisler testified he specifically
15
     questioned Pratte about Pratte’s intention to make gifts to both Bardwell and Carrier:
16

17
            “When Mr. Pratte instructed me to make the gift, I was surprised by two
            names on the list and I did ask him if he was sure; Mr. Bardwell and Mr.
18          Carriere, if he was sure he wanted to do that. And his response was: Yes.
            I want to make them – as you call them, the five guys.”
19

20   (DSOF, ¶ 36) Shisler testified Pratte was unequivocal and clearly expressed that the
21
     monies and properties given to Bardwell were intended to be gifts with no contingencies.
22
     (DSOF, ¶ 37) In addition, Shisler testified that:
23

24             • He was “surprised by the magnitude of the gifts”
25
               • “this was a very memorable event”
26
               • He discussed with Pratte the fact the gift taxes would be exorbitant
27

28             • He testified Pratte used the word “gifts” not “payments” or other terms



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1               • He advised Pratte that he would owe less gift tax and could shift tax
2                 liability to both Carrier and Bardwell by placing them on payroll versus
                  making gifts
3

4               • And that Pratte intended the gifts to be unconditional to each man.

5    (DSOF, ¶ 38)

6
                              SUMMARY JUDGMENT STANDARD
7

8            Summary judgment is appropriate when there is no genuine dispute as to any
9
     material fact and, viewing those facts in a light most favorable to the non-moving party,
10
     the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). A fact is
11

12   material if it might affect the outcome of the case, and a dispute is genuine if a reasonable
13
     jury could find for the nonmoving party based on the competing evidence. Anderson v.
14
     Liberty Lobby, 477 U.S. 242, 248 (1986). Summary judgment may also be entered “against
15

16   a party who fails to make a showing sufficient to establish the existence of an element
17   essential to that party’s case, and on which that party will bear the burden of proof at trial.”
18
     Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). A party seeking summary judgment
19

20   must meet their initial burden of demonstrating the absence of material facts precluding

21   summary judgment, after which the burden shifts to the non-moving party to establish the
22
     existence of a genuine and material factual dispute. Id. at 324.
23
                                      ARGUMENT AND ANALYSIS
24

25      I.      Pratte Cannot Recover Damages for Any Portion of the Gift Tax Paid:
26
             Pratte states in his complaint that he “paid taxes on behalf of Jeffrey Bardwell and
27
     his wife.” (DSOF, ¶ 39) In his disclosure, Pratte identifies the taxes he claims as partial
28




                                                    9
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1    damages ($3,378,092) as being “paid on Bardwell’s behalf” and characterizes the pro rata
2
     portion of the gift taxes as “Bardwell’s taxes.” (DSOF, ¶ 40)
3
            Bardwell disputes these characterizations, but such disputes are not material. That
4

5    is because no matter whose version of the facts are ultimately determined to be true, the
6
     gift tax Pratte paid would not, as a matter of law, constitute damages to Pratte. If, as
7
     Bardwell asserts, it is determined Pratte made a gift to Bardwell, the gift tax Pratte paid
8

9    was appropriate. That leaves only one question, i.e., whether Pratte can recover, as damages,
10
     the gift tax he paid on his transfer of cash and property interests to Bardwell if, as Pratte
11
     claims, Bardwell made a contractual commitment?3
12

13          Pratte claims his purported contract with Bardwell was a “well-defined contract

14   between two sophisticated, well-informed parties.” (DSOF, Ex. 5, p. 8:9), and there was no
15
     donative intent on Pratte’s part because the assets transferred to Bardwell were a substitute
16

17
     for Bardwell’s previous salary. (DSOF, Ex. 5, p. 15:3-5). If the facts as Pratte has alleged

18   them (but not as he’s characterized them in his gift tax return or with respect to the gift tax
19
     he paid) are accepted as true, then under applicable tax law: (1) Pratte’s payment of gift
20
     tax was neither payment of Bardwell’s taxes nor payment of taxes on Bardwell’s behalf;
21

22   (2) Pratte’s payment of gift tax did not relieve Bardwell of any tax liability he had for the
23
     compensation Pratte claims to have paid him; and (3) Pratte had no obligation to pay gift
24
     tax. As such, the gift tax Pratte paid cannot constitute damages recoverable from Bardwell.
25

26

27   3
      Nothing herein should be inferred as a concession to any factual matter. Further,
28   although Pratte’s testimony is helpful to Bardwell (DSOF, ¶ 31), it is Bardwell’s position
     that the facts do not matter as this is an issue of law.


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1             (1) Pratte Did Not Pay Bardwell’s Tax Nor Did He Pay Tax on Bardwell’s Behalf
2
              Under 26 U.S.C. § 2501(a)(1), gift tax is imposed on the transfer of property.
3
     Accordingly, it is a liability of the transferor (Pratte), not the transferee (Bardwell). The
4

5    Treasury Regulations are clear:
6
              The gift tax is not imposed upon the receipt of the property by the donee, nor is it
7             necessarily determined by the measure of enrichment resulting to the donee from
              the transfer, nor is it conditioned upon ability to identify the donee at the time of the
8
              transfer. On the contrary, the tax is a primary and personal liability of the
9             donor, is an excise upon his act of making the transfer, is measured by the value
              of the property passing from the donor, and attaches regardless of the fact that the
10
              identity of the donee may not then be known or ascertainable.
11
     26 C.F.R. § 25.2511-2(a)(emphasis added). This not subject to dispute. Pratte’s gift tax
12

13   payment was not a payment of “Bardwell’s tax” or a payment on Bardwell’s behalf.

14            (2) Pratte’s Payment of Gift Tax Could Not Relieve Bardwell of Tax Liability
15
              Pratte appears to contend that his payment of gift tax benefitted Bardwell indirectly
16

17
     by relieving Bardwell of his tax liabilities. That contention is untenable. There is no

18   provision of the tax law that allows for the payment of gift tax by a person who pays
19
     compensation for services as a substitute for payment of income or employment tax by the
20
     person receiving the compensation. See, Farid-Es-Sultaneh v. Commissioner, 160 F.2d 812,
21

22   814 (2d. Cir. 1947)(“But we find nothing in this decision to show that a transfer, taxable
23
     as a gift under the gift tax, is ipso facto to be treated as a gift in construing the income tax
24
     law.”)
25

26            Under 26 U.S.C. § 61(a)(1), compensation for services is subject to income tax. It

27   also is subject to employment tax under 26 U.S.C. §§ 1401 and 3101. Thus, under Pratte’s
28
     theory of the case (compensation), the assets transferred to Bardwell were, by law, subject



                                                     11
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1    to both income and employment tax. Although the enforcement of Bardwell’s obligation
2
     for those taxes would now be time-barred, they nonetheless would have been Bardwell’s
3
     obligations and Pratte’s payment of gift tax would not alter that fact.
4

5           In Commissioner v. Duberstein, 363 U.S. 278 (1960), the Supreme Court considered
6
     whether amounts transferred to a person who performs services for the transferor are
7
     taxable as income to the transferee or treated as a gift for income tax purposes. The Court
8

9    held that the dispositive fact is whether the transferor had donative intent. Id. at 286. “The
10
     parties' expectations or hopes as to the tax treatment of their conduct, in themselves, have
11
     nothing to do with the matter.” Id. To be excluded from income, the transfer must proceed
12

13   from a “detached and disinterested generosity, out of affection, respect, admiration, charity,

14   or like impulses.” Id. at 285. Pratte claims he had no donative intent as the assets were
15
     transferred to Bardwell pursuant to a contract in exchange for future services. Accordingly,
16

17
     under Duberstein, if the facts Pratte alleges to support his contract claim are accepted, then

18   the assets Pratte transferred to Bardwell were subject to income tax. Accordingly, Pratte’s
19
     payment of gift tax did not, as a matter of law, benefit Bardwell and Bardwell’s personal
20
     tax position was entirely unaffected.
21

22          (3) Under Pratte’s Theory No Gift Tax Was Due for the Transfers to Bardwell
23
            Under 26 U.S.C. § 2512, only transfers made for less than “adequate and full
24
     consideration in money or money’s worth” are gifts for federal gift tax purposes. The
25

26   amount of a taxable gift is limited under that section to the excess of the value of the

27   property transferred over the amount of consideration in money or money’s worth. Pratte
28
     cannot have it both ways. Pratte’s asserted position is that Bardwell’s services were



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1    valuable consideration sufficient to form a contract, yet he paid gift tax as if Bardwell’s
2
     services had a value of zero. It is either that conclusion or that Bardwell’s services were
3
     meaningless and not consideration for the transferred assets, i.e., a gift. Treasury
4

5    Regulations make it clear that under Pratte’s theory, Bardwell’s services had a value for
6
     gift tax purposes equal to the value of the assets Pratte transferred to him. Accordingly,
7
     Pratte owed no gift tax:
8

9           However, a sale, exchange, or other transfer of property made in the ordinary course
            of business (a transaction which is bona fide, at arm's length, and free from any
10
            donative intent), will be considered as made for adequate and full consideration in
11          money or money's worth.

12   26 C.F.R. § 25.2512-8 (emphasis added).
13
            If the contract Pratte claims he had with Bardwell was as he described it, “a well-
14

15
     defined contract between two sophisticated, well-informed parties,” then it would have

16   been bona fide and at arm’s length. And Pratte unambiguously represents he had no
17
     donative intent. (Ex. 5, p. 15:3) Thus, according to Pratte’s own pleadings, 26 C.F.R. §
18
     25.2512-8 would squarely govern this situation and Pratte had no gift tax liability for his
19

20   transfers to Bardwell rendering his pro rata payment of $3.3 Million of gift tax unnecessary.
21
            In summary, Pratte alleges he had a contract with Bardwell where Bardwell’s
22
     services were consideration for the assets Pratte transferred. If this is presumed true, Pratte
23

24   would have owed no gift tax related to the Bardwell transfers. Put another way, his payment

25   of gift tax was itself a gift, not to Bardwell, but to the U.S. Treasury.
26
            Accordingly, Bardwell is entitled to summary judgment disallowing Pratte’s
27

28
     damage claim for the gift tax paid.




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1       II.        Bardwell is Entitled To Summary Judgment on Pratte’s Contract Claim
2
              A)      Pratte Cannot Prove the Existence of a Contract:
3
              Under Arizona law, Pratte must prove three elements: (1) the existence of a contract,
4

5    (2) its breach, and (3) resulting damages. Graham v. Ashbury, 112 Ariz. 184, 185, 540 P.2d
6
     656, 657 (1975). A valid contract requires proof of “an offer, an acceptance, consideration,
7
     and sufficient specification of terms so that the obligations involved can be ascertained.”
8

9    Savoca Masonary Co. v. Homes & Son Constr. Co., 112 Ariz. 392, 394, 542 P.2d 817, 819
10
     (1975); See also, Goodman v. Physical Res. Eng'g, Inc., 229 Ariz. 25, 270 P.3d 852 (App.
11
     2011)(a valid contract requires an offer, acceptance, conside ration, and the intent of both
12

13   parties to be bound by the agreement); Brookhaven Housing Coalition v. Solomon, 583 F2d

14   584, 593 (2nd Cir. 1978)(“If essential terms of an agreement are omitted or are phrased in
15
     too indefinite a manner, no legally enforceable contract will result")(citations omitted).
16

17
              Pratte’s testimony demonstrates that he cannot prove he made a clear offer, let alone

18   that Bardwell knowingly accepted an offer intending to be contractually bound. Moreover,
19
     the fictitious oral contract would be simply too vague to be enforceable.
20
              B)      Even if Pratte Could Prove a Contract Exists, It Would Be Unenforceable:
21

22            Pratte asserts he had an oral contract with Bardwell. It is, therefore, axiomatic that
23
     Pratte’s understanding and interpretation of his contract is paramount. Although he and his
24
     counsel have claimed the oral contract was of indefinite duration (life), Pratte clarified his
25

26   position as to the contract’s duration:

27                    Q:…[H]ow long did Jeff have to work for you?
28
                      A: I would think he would be done by 65.



                                                    14
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1                   Q: Why do you think that?
2
                    A: I just think that’s – he would have fulfilled his obligation by then.
3
     Dep. R. Pratte, 2/27/2020, 207:19-24.
4

5           Pratte’s sworn testimony clarifies that the alleged contract is squarely within the
6
     Statute of Frauds, A.R.S. § 44-101(5), rendering it invalid or unenforceable if not in writing
7
     signed by both parties. See also A.R.S. § 23-1501(A)(2); White v. AKDHC, 664 F.Supp.2nd
8

9    1054 (D. Ariz. 2009). Contracts for an indefinite period may not be subject to the statute,
10
     but here Pratte persuasively interprets his own “contract” as binding on Bardwell until
11
     retirement age, thereby requiring it to be in writing. See Mullins v. Southern Pacific
12

13   Transportation, 174 Ariz. 540, 851 P.2d 839 (1992), review denied, June 2, 1993

14   (discussing differences between indefinite and definite term employment contracts).
15
            Further, Pratte’s fictitious contract, i.e., upfront compensation paid in a lump-sum
16

17
     for 30-years of services, should be deemed against public policy for a myriad of tax and

18   related reasons.
19
        III.     Bardwell Should Be Granted Summary Judgment In His Favor on
20               Pratte’s Promissory Estoppel Claim
21
        Pratte’s promissory estoppel claim is, factually, indistinguishable from his contract
22
     claim. Here, Pratte must prove Bardwell made an actual promise to Pratte, that Bardwell
23

24   should have reasonably foresaw Pratte would rely upon the promise, and that he (Pratte)

25   did rely upon the promise to his detriment. See Higginbottom v. State, 203 Ariz. 139, 142
26
     (2002). Pratte cannot prove each element. While the parties dispute whether a promise
27

28
     was made or could be reasonably relied upon, Pratte cannot prove the reliance was to his




                                                   15
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1    detriment as his plan was to gift properties to both reduce his taxable estate and to
2
     perpetuate the Pratte name. Further, to prevail, Pratte must also prove a second promise,
3
     i.e., that Bardwell promised not to rely upon any statute, rule or principle of law that may
4

5    invalidate an oral personal services contract if not in writing, or that Bardwell promised
6
     to reduce the “contract” to writing. See Mullins, supra. Pratte claims, however, that
7
     Bardwell made only one promise. (DSOF, ¶ 25)
8

9
        IV.      Bardwell Was Not Unjustly Enriched
10
              To prevail Pratte must prove Bardwell was enriched, that Pratte suffered a loss, that
11

12   the two results were connected, that there is no other reason Bardwell was enriched, and

13   that he [Pratte] has no legal remedy. See Wang Elec., Inc. v. Smoke Tree Resort, LLC, 230
14
     Ariz. 314, 283 P.3d 45 (App. 2012); See also Trustmark Insurance Company v. Bank
15

16
     One, Arizona, 202 Ariz. 535, 48 P.3d 485 (2002). “The mere fact that one party confers

17   a benefit on another, however, is not of itself sufficient to require the other to make
18
     restitution. Retention of the benefit must be unjust.” See Freeman v. Sorchych, 226 Ariz.
19
     242, 245 P.3d 927 (App. 2011)(quoting Pyeatte v. Pyeatte, 135 Ariz. 346, 352, 661 P.2d
20

21   196, 202 (App. 1983)).
22
              The undisputed facts are that Pratte treated Bardwell like family, considered
23
     Bardwell to be part of his family, that Pratte decided to make gifts long before any of
24

25   the Five-Guys knew Pratte would be gifting them assets, and that Bardwell did not

26   solicit the gifts. (DSOF, ¶¶ 6, 11-12, 15-16). Further, based upon Pratte’s inconsistent
27
     testimony, Shisler’s testimony, the gift tax return, and Bardwell’s belief these were
28




                                                    16
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1    gifts, coupled with the fact Pratte admitted he intended to transfer the properties to the
2
     Five-Guys collectively and of his own accord, Pratte cannot sustain his burden of
3
     proving the transfers were not gratuitous sufficient to prevail on this claim.
4

5       V.      Pratte Is Estopped From Denying the Transfers Were Gifts to Bardwell
6
             It is undisputed that the gifts to the Five-Guys were simultaneous and identical. It is
7
     undisputed that Pratte signed and filed his gift tax return under penalty of perjury. It is
8

9    undisputed the transfers disclosed in the gift tax return were characterized as gifts. It is
10
     undisputed that the properties transferred were transferred to LLCs not individuals and that
11
     Pratte relinquished all dominion, ownership, possession, and control over the properties. It
12

13   is also undisputed Bardwell’s interests were not differentiated in the tax return or in any

14   other document. Accordingly, by virtue of his tax filings, 15-years later Pratte is estopped
15
     from denying that the property transferred was anything other than a gift. See Mahoney-
16

17
     Buntzman v. Buntzman, 12 N.Y. 3d 415, 422, 990 N.E.2d 62 (2009)(“A party to litigation

18   may not take a position contrary to a position taken in an income tax return…in which he
19
     swore that the representations contained within it were true….We cannot, as a matter of
20
     policy, permit parties to assert positions in legal proceedings that are contrary to
21

22   declarations made under penalty of perjury on income tax returns.”); see also Livathinos v.
23
     Vaughn, 121 A.D. 3d 485 (1st Dept. 2014); Walsh v. Blaggards III Restaurant Corp., 131
24
     A.D. 3d 854 (1st Dept. 2015).
25

26           For the foregoing reasons and based upon any arguments made at any hearing in

27   this matter, Bardwell requests the Court grant summary judgment in his favor.
28
             Dated this 18th day of December, 2020.


                                                   17
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1                                         By: /s/ Thomas J. Marlowe
2
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5                                             Tmarlowe2425@outlook.com
6
                                  CERTIFICATE OF SERVICE
7
            I, Thomas J. Marlowe, hereby certify that on December 18, 2020, I electronically
8

9    transmitted the foregoing document with the Clerk’s Office using the ECF system for filing
10
     and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this
11
     case and emailed a copy of this document to the following:
12

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